         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-0400
                 LT Case Nos. 2020-DR-004246
                              2023-DR-004082-FM
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NEYTHA LEWIS,

    Appellant,

    v.

DEPARTMENT OF REVENUE and
ZAIN AMEEN NELSON,

    Appellees.
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On appeal from the Circuit Court for Duval County.
John I. Guy, Judge.

Neytha Lewis, Kingsland, Georgia, pro se.

Ashley Moody, Attorney General, and Toni C. Bernstein, Senior
Assistant Attorney General, Tallahassee, for Appellee,
Department of Revenue.

No Appearance for Remaining Appellee.


                            August 20, 2024

PER CURIAM.

    AFFIRMED.
MAKAR, JAY, and SOUD, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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